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                         THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF NEW YORK


                                                     )                 Case No. 23-10063 (SHL)
In re:                                               )
                                                     )                 Chapter 11
Genesis Global Holdco, LLC, et al. 1,                )                 (Jointly Administered)
                                                     )
                                                     )
                          Debtors.                   )
                                                     )
                   MOTION FOR ADMISSION TO PRACTICE, PRO HAC VICE

          I, William M. Uptegrove, request admission, pro hac vice, before the Honorable

Sean H. Lane, to represent the U.S. Securities and Exchange Commission, a creditor in the

above-referenced case.

         I certify that I am a member in good standing of the bars in the State of New York and

the State of New Jersey. I am also admitted to practice in the bars of the U.S. District Court for

the District of New Jersey, the U.S. Court of Appeals for the Third Circuit, and the Supreme

Court of the United States.

         I request a waiver of the filing fee, as I am representing an agency of the federal

government.

Dated: May 19, 2023                                           Respectfully submitted,
       Atlanta, Georgia
                                                              U.S. SECURITIES AND EXCHANGE
                                                              COMMISSION

                                                              By: /s/ William M. Uptegrove
                                                                 William M. Uptegrove
                                                                 Senior Trial Counsel
                                                                 950 East Paces Ferry Rd., N.E.
                                                                 Suite 900
                                                                 Atlanta, GA 30326
                                                                 Email: uptegrovew@sec.gov
                                                                 Tel.: (404) 842-5765


1
 The Debtors in these Chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
as follows: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); and Genesis Asia Pacific Pte.
Ltd. (2164R). For the purpose of these Chapter 11 cases, the service address for the Debtors is 250 Park Avenue
South, 5th Floor, New York, NY 10003.
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                                CERTIFICATE OF SERVICE

        I certify that I caused a copy of the foregoing Motion for Admission to Practice Pro Hac

Vice to be served upon counsel or parties of record by the Court’s CM/ECF system on May 19,

2023.


                                                    By: /s/ William M. Uptegrove
                                                       William M. Uptegrove
